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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

FUND TEXAS CHOICE, et al.,

        Plaintiffs,
v.                                              Civil Case No. 1:22-cv-859-RP

JOSÉ GARZA, in his official capacity as
District Attorney of Travis County, Texas, et
al.,

        Defendants.


     PLAINTIFFS’ OPPOSITION TO SB 8 DEFENDANTS’ MOTION TO DEFER CONSIDERING
           OR SUMMARILY DENY PLAINTIFFS’ SUMMARY JUDGMENT MOTION

         Defendants Shannon D. Thomason, Sadie Weldon, Ashley Maxwell, Mistie Sharp, and

Zach Maxwell’s (collectively, “SB8 Defendants’”) Motion to Defer Considering or Summarily

Deny Plaintiffs’ Summary Judgment Motion (“Rule 56(d) Motion”) (ECF 217) asks this Court to

indefinitely delay its consideration of purely legal issues—namely, whether Texas Senate Bill 8

(“SB8”) passes constitutional muster. There is ample evidence already before the Court that

Plaintiffs Fund Texas Choice, The North Texas Equal Access Fund, The Lilith Fund for

Reproductive Equity, Frontera Fund, The Afiya Center, West Fund, Jane’s Due Process, Clinic

Access Support Network, Buckle Bunnies Fund, and Dr. Ghazaleh Moayedi, DO, MPH, FACOG

have standing to pursue their claims for declaratory and injunctive relief against the SB8

Defendants. And the SB8 Defendants have not identified any specific discovery that would yield

specific disputed material facts needed to oppose Plaintiffs’ summary judgment motion (“MSJ”),

which is required by Rule 56(d). See MDK Sociedad De Responsabilidad Limitada v. Proplant

Inc., 25 F.4th 360, 366 (5th Cir. 2022).
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       The SB8 Defendants’ Rule 56(d) Motion is nothing more than another step in their ongoing

effort to unreasonably delay this case. SB8 is, and always has been, unconstitutional. Plaintiffs

established the Court’s jurisdiction and put forward all of the legal reasons why that conclusion is

inevitable weeks ago. SB8 Defendants seek to chill Plaintiffs’ constitutional rights through

unnecessary, irrelevant, and harassing discovery related to an unconstitutional law in order to

further delay this Court’s ruling on pure issues of law. The Rule 56(d) Motion should be denied.

                      I.      RELEVANT FACTUAL BACKGROUND

       Plaintiffs filed their Second Amended Complaint (“SAC”) on April 20, 2023 (ECF 129).

All of Plaintiffs’ claims against the SB8 Defendants: (1) assert facial challenges to SB8 under the

U.S. Constitution and/or other federal law; and (2) seek declaratory judgment and injunctive relief

against the SB8 Defendants as the designated and self-identified enforcers of SB8. (Id. at 65-78.)1

All Defendants filed motions to dismiss, including the SB8 Defendants, who claimed (1) they are

improperly joined in the case and (2) venue in this Court is improper. (ECF 161-67). Briefing on

all of the motions to dismiss was completed on August 9, 2023, and those motions remain pending

before the Court. (ECF 161-167, 147-78, 198-204).

       On August 4, 2023, Plaintiffs sought leave to exceed the page limitations in their Motion

for Summary Judgment against SB8 Defendants (“SB8 MSJ”), which the SB8 Defendants

opposed. (ECF 197, 206). Plaintiffs attached a copy of the proposed SB8 MSJ and the related

appendix to their motion. (See ECF 197-1.) This Court granted Plaintiffs’ motion and the Clerk

of Court filed Plaintiffs’ SB8 MSJ on September 11, 2023 (ECF 208, 209). SB8 Defendants have

had Plaintiffs’ MSJ for two months.



1
 Plaintiffs’ claims against the DA Defendants raise similar legal challenges to Texas’s criminal
anti-abortion laws and seek similar relief against the DA Defendants who are the designated
enforcers of those criminal statutes. (ECF 129 at 62-73.)


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       Rather than respond to the legal arguments made in the SB8 MSJ, the SB8 Defendants filed

their Rule 56(d) Motion, requesting that the Court defer consideration of the SB8 MSJ until the

Court rules on all pending motions to dismiss, and until the completion of all discovery, and until

after the Court rules on a 12(b)(1) motion that the SB8 Defendants have not yet filed. (ECF 217

at 2-3, 6.) Alternatively, the SB8 Defendants urge the Court to deny the SB8 MSJ as premature.

(ECF 217 at *1). The Court administratively stayed the SB8 Defendants’ deadline to respond to

the SB8 MSJ so that it could consider their Rule 56(d) Motion. (ECF 218).

                          II.     ARGUMENT AND AUTHORITIES

       None of the arguments in the Rule 56(d) Motion has any merit because (1) Plaintiffs have

already submitted significant and sufficient evidence of their Article III standing, and (2) the SB8

Defendants have not even attempted to satisfy their burden under Rule 56(d), let alone done so.

A.     Plaintiffs have repeatedly established standing under Article III.

       The SB8 Defendants’ sole argument in support of their request for summary denial of the

SB8 MSJ is that they believe Plaintiffs “refuse even to acknowledge their obligation to prove

Article III standing” and that their “failure to present any argument or evidence for standing in

their brief—is an affront to the Court.” (ECF 217 at 1, 7). At the risk of being redundant, Plaintiffs

respectfully direct the Court to the evidence they have already repeatedly provided to establish

their standing under Article III, including the evidence contained in the Appendix to the SB8 MSJ.

(ECF 4-3 - 4-11; ECF 86-1 at 11-16, 42-44, 47, 54-58, 60-63, 71, 84-87, 114-18, 120-21, 126-30,

153-54, 164-65, 168-69, 189-94, 197, 199-208, 210-12; ECF 177-1; ECF 209 at 60-169, 175-89,

194-95, 200-201, 206-207, 212-13, 217-18, 222-24, 228-30, 234-35, 337-49). Plaintiffs also

included a five-page factual background section in the SB8 MSJ itself that details the very

information the SB8 Defendants claim they need to know—(1) whether any Plaintiff has violated




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SB8’s terms in the past and (2) whether any Plaintiff intends to do so in the future. The SB8 MSJ

confirms this, and that the SB8 Defendants have all threatened to enforce SB8 against Plaintiffs:

       SB8 became law on September 1, 2021, before the U.S. Supreme Court’s decision
       in Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022). ECF 120 at 6;
       Senate Bill 8, 87th Leg., Reg. Sess. (Tex. 2021).
       ...

       During the two days that this Court’s injunction [in U.S. v. Texas] was in effect,
       ‘post-cardiac’ abortions resumed in Texas, as Defendants Thomason, Weldon, and
       A. Maxwell have pleaded in actions seeking pre-litigation discovery to support
       potential SB8 claims in Texas state court. See TEX. R. CIV. P. 202; Exs. A-1 – A-
       3. During that time, certain Plaintiffs assisted Texans in obtaining abortions (in
       Texas) without regard to whether cardiac activity may have been detectable. See
       Exs. A-3 – A-5, A-9 (threat to TEA Fund regarding abortions funded during
       injunction); A-1, A4 – A-5, A-8 (threat to Lilith Fund regarding abortions funded
       during injunction), A-4 – A-6. When the Fifth Circuit stayed this Court’s
       injunction, post-cardiac activity abortions in Texas largely stopped, as did
       Plaintiffs’ efforts to assist Texans to obtain abortions in Texas.

       At that time (while SB8 was in effect, but before Dobbs was decided), Plaintiffs
       started to undertake limited work helping pregnant Texans seeking to obtain
       abortions in states where abortion remained legal. See ECF 120 at 10–13, 19
       (summarizing the testimony of Anna Rupani of Fund Texas Choice, Neesha Davé
       of the Lilith Fund, and Rosann Mariappuram of Jane’s Due Process). Following
       the release of the Dobbs opinion, virtually every Plaintiff either restricted its
       activities to advocacy or to advocacy plus helping Texans access legal non-abortion
       care in Texas. While Plaintiffs only provided assistance for post-cardiac activity
       abortions in Texas during the injunction period in U.S. v. Texas or for abortions
       occurring in other states where they remain legal, this did not stop the SB8
       Defendants’ threats to enforce SB8 against Plaintiffs (and others like them):

                On May 31, 2022, Ms. Sharp submitted a sworn declaration to this Court
               in Davis v. Sharp . . . stating that she was ‘interested only in suing the
               abortion funds – the actual entities rather than the individuals – that pay for
               abortions in violations of [SB8].’ Ex. A-7 at ¶ 7.

                The same day, Ms. Weldon submitted a sworn declaration to this Court in
               Davis v. Sharp, explaining that she had ‘no interest in suing anyone other
               than the individuals or organizations that aided or abetted the illegal post-
               heartbeat abortions described in Ms. Dave’s sworn declaration’ and that she
               had ‘no interest in suing any abortion fund or individuals involved with
               abortion funds apart from the Lilith Fund and those who aided or abetted
               the illegal post-heartbeat abortions described in Ms. Dave’s sworn
               declaration.’ Ex. A-8 at ¶ 9.3


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                Also on the same day, Ms. Maxwell submitted a sworn declaration to this
               Court in Davis v. Sharp that was virtually identical to the declaration that
               Ms. Weldon submitted except that her intentions are to sue ‘TEA Fund and
               those who aided or abetted the illegal post-heartbeat abortions described in
               Ms. Conner’s sworn declaration.’ Ex. A-9 at ¶ 9.4

                On July 7, 2022, several members of the Texas House of Representatives
               calling themselves ‘the Texas Freedom Caucus’ sent a letter to the law firm
               of Sidley Austin, claiming that assisting Texans who access legal abortion
               care outside the state violates the Pre-Roe Statues and that paying for out-
               of-state post-cardiac abortions or the related travel violates SB8 if ‘the
               patient ingested the second drug in Texas after receiving the drugs from an
               out-of-state provider.’ Ex. A-10.

                Also on July 7, 2022, Jonathan Mitchell—who is counsel for the SB8
               Defendants in this lawsuit (and other court cases initiated by the SB8
               Defendants )—sent three letters from his office in Austin, Texas on behalf
               of SB8 Defendant Thomason to counsel for Plaintiffs. Exs. A-4 – A-6.
               These letters mirrored the July 7, 2022 Texas Freedom Caucus Letter,
               including a lengthy direction to Plaintiffs (and counsel)5 that all documents
               and information related to certain abortions must be retained. See Exs. A-4-
               A-6, A-10.6.

                On September 1, 2022, Defendant Zach Maxwell filed a Rule 202 Petition
               in Texas state court seeking pre-suit discovery from Makayla Montoya-
               Frazier of Plaintiff Buckle Bunnies in order to investigate potential SB8
               claims against Buckle Bunnies and Ms. Montoya-Frazier based on his
               assertion that ‘if any Texas resident beyond the six-week limit ingested
               either of those two [medication abortion drugs] in Texas, then the abortion
               violated the Texas Heartbeat Act, and any abortion fund that aided or
               abetted the abortion is liable[.]’ See Ex. A-11 at 6.

(ECF 209 at 9-13.)

       All of this evidence confirms that Plaintiffs’ injuries are “fairly traceable” to the

complained-of conduct undertaken by the SB8 Defendants and that the relief sought is “likely” to

redress the plaintiffs’ alleged injuries. 2 See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)


2
 The Plaintiffs also put forward evidence of their standing in their briefing on the SB8 Defendants’
Motion to Dismiss just two months ago. ECF 177-1 at 54:16-55:7; 61:9-62:2; 79:8-21; 85:12-25;
95:16-96:9. In the face of Plaintiffs’ repeated submissions of evidence on these issues, the SB8
Defendants’ continued accusations that Plaintiffs are “refus[ing] even to acknowledge their


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(explaining requirements of constitutional standing).3 SB8 Defendants now want to gather every

document and depose every witness that might have information about an abortion that they

believe violates SB8 or Texas’s other abortion laws—their campaign to obtain this information is

what underlies this very lawsuit. And their threats to use such information to enforce SB8 against

Plaintiffs (and others) is yet another source of the ongoing chilling of constitutional rights.

       The SB8 Defendants’ offhanded suggestion that the SB8 MSJ cannot be considered until

all discovery is complete is also incorrect. “The Federal Rules of Civil Procedure give district

courts the power to grant summary judgment motions before the parties have completed

discovery.” Proplant Inc., 25 F.4th at 366 (citing Fed. R. Civ. P. 56(b)); see also Washington v.

Allstate Ins. Co., 901 F.2d 1281, 1285 (5th Cir. 1990) (“This Court has long recognized that a

[party’s] entitlement to discovery prior to a ruling on a motion for summary judgment is not

unlimited, and may be cut off when the record shows that the requested discovery is not likely to

produce the facts needed by the [nonmovant] to withstand a motion for summary judgment.”). In

fact, “Rule 56 does not require that any discovery take place before summary judgment can be

granted.” Mendez v. Poitevent, 823 F.3d 326, 336 (5th Cir. 2016) (citations omitted).4”




obligation to prove Article III standing” and the like are at best disingenuous. Plaintiffs also
respectfully submit that future misstatements of this kind would warrant a consideration of
sanctions.
3 Standing for a single Plaintiff is sufficient to confer standing for all Plaintiffs. McAllen Grace

Brethren Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014).
4
  The SB8 Defendants’ protestations that no discovery regarding Article III standing has occurred
and their patently false assertions that Plaintiffs have not provided evidence of their allegations
related to standing are also insufficient to satisfy the Rule 56(d) requirements discussed in Section
B below. See Proplant Inc., 25 F.4th at 366-67 (affirming district court’s denial of Rule 56(d)
motion because “[i]t simply asserted that no depositions have been held, nor have interrogatories,
requests for admission, nor requests for documents been exchanged between the parties,” and that
the “[movant] has repeatedly failed to provide evidence of its allegations despite numerous
opportunities to do so”).


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B.      The SB8 Defendants have not satisfied Rule 56(d)’s requirements.

        Under Federal Rule of Civil Procedure 56(d), “[i]f a nonmovant shows by affidavit or

declaration that, for specified reasons, it cannot present facts essential to justify its opposition [to

a motion for summary judgment], the court may: (1) defer considering the motion or deny it; (2)

allow time to obtain affidavits or declarations or to take discovery; or (3) issue any other

appropriate order.” The party resisting summary judgment must demonstrate two things: “1) why

he needs additional discovery, and 2) how the additional discovery will likely create a genuine

issue of material fact.” Chenevert v. Springer, 431 F. App’x 284, 287 (5th Cir. 2011).

        The nonmovant is not entitled to any sort of continuance under Rule 56(d) if it “fail[s] to

explain what discovery [it] did have, why it was inadequate, and what [it] expected to learn from

further discovery” and only provides “vague assertions of the need for additional discovery.”

Bauer v. Albemarle Corp., 169 F.3d 962, 968 (5th Cir. 1999) (citing Reese v. Anderson, 926 F.2d

494, 499 n. 5 (5th Cir. 1991)) (internal quotation marks omitted). “Instead, the non-moving party

must ‘set forth a plausible basis for believing that specified facts, susceptible of collection within

a reasonable time frame, probably exist and indicate how the emergent facts, if adduced, will

influence the outcome of the pending summary judgment motion.’” Proplant Inc., 25 F.4th 360,

at 366 (quoting Raby v. Livingston, 600 F.3d 552, 561 (5th Cir. 2010)). The SB8 Defendants do

not, and cannot, do so.

        First, the SB8 Defendants have not identified any specific facts that they believe probably

or plausibly exist or that could be adduced from specific discovery. They merely state – albeit

repeatedly – that they will pursue discovery about categories of information on standing and venue

in a rolling fashion in between yet-to-be filed, but definitely forthcoming motions. (ECF 217 at




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2-4, 6).5 But the SB8 Defendants never explain what specific facts they are looking for, why they

need them, or how any fact that they seek to uncover and believe exists would impact this Court’s

jurisdictional or venue analyses or analysis of the legal arguments in the SB8 MSJ. Proplant Inc.,

25 F.4th at 366 (“Non-moving parties requesting Rule 56(d) relief may not simply rely on vague

assertions that additional discovery will produce needed, but unspecified, facts.”).

       Second, the SB8 Defendants claim generally that they need to know whether any of the

Plaintiffs violated SB8 in the past, or whether they intend to do so in the future. (ECF 217 at 3).

Again, they already have this information, provided multiple times, and included in the Appendix

to the SB8 MSJ itself. (ECF 4-3 - 4-11; ECF 42-1; ECF 58-1; ECF 86-1 at 11-16, 42-44, 47, 54-

58, 60-63, 71, 84-87, 114-18, 120-21, 126-30, 153-54, 164-65, 168-69, 189-94, 197, 199-208, 210-

12; ECF 129-1, 129-2, 129-3, 129-4, 129-25, 129-26, 129-27, 129-28, 129-29, 129-30, 129-31,

129-32, 129-33; ECF 177-1; ECF 209 at 60-169, 175-89, 194-95, 200-201, 206-207, 212-13, 217-

18, 222-24, 228-30, 234-35, 337-49).6 The SB8 Defendants do not explain how any other

information could impact the Court’s standing analysis.


5
  The SB8 Defendants have followed through on their threat to pursue discovery, requesting 18
depositions of Plaintiffs and serving 220 RFPS, 477 Interrogatories (including subparts), and 460
RFAs on Plaintiffs since September 12, 2023. None of the discovery served is proper or relevant.
The vast majority of it impermissibly seeks information protected from disclosure by the First
Amendment and other federal law, is wholly irrelevant to any issue in the case, seeks privileged
communications between Plaintiffs and their lawyers, and/or improperly seeks legal conclusions.
Plaintiffs have already filed a motion for protection related to some of this discovery and will file
additional motions for protection related to the SB8 Defendants’ ongoing abuse of the discovery
process. Examples of the additional discovery served by SB8 Defendants are included in the
Appendix to this Opposition.
6
  The SB8 Defendants’ statement (and their counsel’s related sworn testimony) that “[t]he SB 8
defendants will move to dismiss the plaintiffs’ claims for lack of Article III standing and lack of
subject-matter jurisdiction after they complete discovery into these jurisdictional matters” and that
“a Rule 12(b)(1) motion will be forthcoming, and the Court will be obligated to resolve these soon-
to-be-filed jurisdictional objections before considering the plaintiffs’ summary-judgment motion”
(ECF at 217 at 6, 217-1 at 4 (emphasis added)), only further confirm the point that discovery is
not needed. The clear implication of these statements is that no matter what discovery reveals, the
SB8 Defendants will continue their dilatory tactics of filing baseless motions attacking the Court’s


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       Third, while SB8 Defendants assert that they “intend to contest venue under 28 U.S.C. §

1391(b)(2) when responding to the plaintiffs’ motion for summary judgment” and therefore need

vague and unspecified discovery about: (a) whether and to what extent the “events or omissions

giving rise to” the plaintiffs’ claims occurred in the western district of Texas . . . ; and (b) the

location of the plaintiffs’ alleged Article III injuries,” (ECF at 217 at 2), they—again—already

have these facts and evidence. They raised their venue challenges in their Motion to Dismiss and

those issues are fully briefed on the record that already exists, including “evidence” submitted by

SB8 Defendants (ECF 167 at 10-12; ECF 167-3 – 167-7). 7 The fact that the SB8 Defendants

seemingly intend to repeatedly challenge this Court’s determination of venue once that

determination is made does not satisfy Rule 56(d).

       Fourth, the SB8 Defendants nonsensically claim they are “entitled to know” this Court’s

conclusions and rulings about their already-briefed venue challenges before they propound

discovery “so they can know how they should contest venue and build a factual case against it”

(ECF 217 at 3). Whatever legal conclusions this Court reaches based on the settled law of venue

and the factual record before it, those conclusions cannot change the facts relevant to venue. 8 Nor

is there a strategic way to propound discovery in a manner that will change venue (or any other)

facts. Simply put, the SB8 Defendants have not identified any specific discovery that would



jurisdiction. Regardless, such vague assertions of a general future litigation plan and need for
discovery are not sufficient under Rule 56(d). Am. Family Life Assur. Co. of Columbus v. Biles,
714 F.3d 887, 894 (5th Cir. 2013) ("[N]on-moving parties requesting Rule 56(d) relief may not
simply rely on vague assertions that additional discovery will produce needed, but unspecified,
facts.” (cleaned up)).
7
  Plaintiffs provided evidence related to venue in their briefing, too. (ECF 177-1).
8
  See Proler Steel Corp. v. Luria Bros. & Co., 225 F. Supp. 412, 413 (S.D. Tex. 1964) (“It is well
settled that venue and jurisdiction are determined by the facts as they exist at the time the action
is filed.”); Horihan v. Hartford Ins. Co. of the Midwest, 979 F. Supp. 1073, 1076 (E.D. Tex. 1997)
(same); Fernandez-Lopez v. Hernandez, No. DR-19-CV-46-AM/CW, 2020 WL 9396487, at *16
(W.D. Tex. Nov. 20, 2020) (same).


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change the already established facts that each of the SB8 Defendants took actions in this district,

and often in this very Court, that inflicted harm on the Plaintiffs, and that several Plaintiffs reside

in this district and therefore felt the threats and associated injuries where they reside.

        Finally, the SB8 Defendants claim that the Court should defer its consideration of the SB8

MSJ until after the Court issues its decisions on the DA Defendants’ motions to dismiss. But the

SB8 MSJ only seeks summary judgment on the purely legal claims asserted against the SB8

Defendants. Setting aside the bizarre nature of the request, Plaintiffs may—and in fact should—

continue to prosecute their claims while awaiting a ruling on pending motions to dismiss. F ED. R.

CIV. P. 41(b). The Court is fully capable of determining the appropriate order in which to rule on

pending issues while having dispositive motions from all parties before it. Daniels v. Jackson, No.

3:20-cv-00842, 2021 WL 4142398 (N.D. Tex. Aug. 26, 2021) (ruling on Defendants’ pending

motions to dismiss concurrently with ruling on Plaintiff’s motion for partial summary judgment

and motion for default judgment). Similarly, the Court is fully empowered to grant partial

summary judgment should it determine that only certain of Plaintiffs’ claims against the SB8

Defendants can be fully resolved now as a matter of law.

                                           CONCLUSION

        The SB8 Defendants’ bare desire that this Court hold this case in indefinite limbo without

offering any specifics about what disputed material fact they believe may be adduced in discovery

is insufficient to warrant any relief under Rule 56(d)—particularly when the extension subjects

Plaintiffs to the ongoing injury at the core of Plaintiffs’ claims. Plaintiffs’ constitutional rights are

being violated every day that SB8 Defendants are authorized to enforce SB8, and there is no

justification for delay when there are no material fact issues and the Court is more than capable of

evaluating any legal issues raised by the SB8 MSJ in appropriate order.




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Dated: October 2, 2023         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2023, a copy of the foregoing was filed electronically
with the Clerk of Court using the CM/ECF system.


                                                           /s/ Jennifer R. Ecklund
                                                           Jennifer R. Ecklund




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